               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                         8:13-CR-137

vs.
                                                      ORDER
PATRICK JOHN KEENAN,

                 Defendant.

      Counsel has represented to the Court that the defendant intends to
change his plea. Therefore, this case is removed from the trial docket. The
parties are directed to contact Judge Gossett's chambers as soon as is
practicable to schedule a change of plea hearing.
      The time between today's date and the hearing on the anticipated plea
of guilty is excluded for purposes of computing the limits under the Speedy
Trial Act. See 18 U.S.C. § 3161(h)(1).

      Dated this 26th day of August, 2013.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
